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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


   STATE OF MISSOURI ex rel. ERIC S.
   SCHMITT, Attorney General, et al.,

          Plaintiffs,

   v.                                                       No. 3:22-cv-01213-TAD-KDM

   JOSEPH R. BIDEN, JR.,
   in his official capacity as President of the
   United States, et al.,

          Defendants.



    PLAINTIFFS’ CONSENT MOTION FOR LEAVE TO EXCEED THE PAGE LIMIT
         FOR THEIR RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

         Pursuant to the Local Rules of the U.S. District Court for the Western District of Louisiana,

  Plaintiffs respectfully request the Court’s leave to file a 83-page response in opposition to

  Defendants’ motion to dismiss and 76-page memorandum in support, Doc. 128-1. Counsel for

  Defendants have consented to this request.

         In support, Plaintiffs state as follows: On November 22, 2022, Defendants moved to

  dismiss Plaintiffs’ Second Amended Complaint. Doc. 128. Defendants’ memorandum in support

  of its motion to dismiss is 76 pages long, exclusive of title page and tables, and raises numerous

  arguments in support of dismissal based on lack of standing, sovereign immunity, failure to state

  a claim, and other issues. Doc. 128-1. Moreover, responding to the motion requires analyzing the

  allegations in the Second Amended Complaint, Doc. 84, which contains 570 paragraphs in 164

  pages. In order to provide a thorough response to Defendants’ arguments, Plaintiffs have prepared

  a response brief of 83 pages, which exceeds the usual limit of 25 pages. See Local Rule 7.8.


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         Plaintiffs respectfully request leave to file their response brief of 83 pages. Counsel for

  Defendants have consented to this request. The proposed response is attached to this Motion.

  Dated: January 5, 2023                                      Respectfully submitted,

  ANDREW BAILEY                                               JEFFREY M. LANDRY
  Attorney General of Missouri                                Attorney General of Louisiana

  /s/ D. John Sauer                                           /s/ Elizabeth B. Murrill
  D. John Sauer, Mo. Bar No. 58721*                           Elizabeth B. Murrill (La #20685)
    Deputy Attorney General                                     Solicitor General
  Charles F. Capps, Mo. Bar No. 72734                         Louisiana Department of Justice
    Deputy Solicitor General                                  1885 N. Third Street
  Kenneth C. Capps, Mo. Bar No. 70908*                        Baton Rouge, Louisiana
    Assistant Attorney General                                Tel: (225) 326-6766
  Missouri Attorney General’s Office                          murrille@ag.louisiana.gov
  Post Office Box 899                                         Counsel for State of Louisiana
  Jefferson City, MO 65102
  Tel: (573) 751-8870
  John.Sauer@ago.mo.gov
  Counsel for State of Missouri

  * admitted pro hac vice

  /s/ Jenin Younes
  Jenin Younes *
  John J. Vecchione *
  New Civil Liberties Alliance
  1225 19th Street N.W., Suite 450
  Washington, DC 20036
  Direct: (202) 918-6905
  E-mail: jenin.younes@ncla.legal
  Counsel for Plaintiffs Dr. Jayanta Bhattacharya,
  Dr. Martin Kulldorff, Dr. Aaron Kheriaty, and Jill Hines

  /s/ John C. Burns
  John C. Burns
  Burns Law Firm
  P.O. Box 191250
  St. Louis, Missouri 63119
  P: 314-329-5040
  E-mail: john@burns-law-firm.com
  Counsel for Plaintiff Jim Hoft




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                                   CERTIFICATE OF SERVICE

         I hereby certify that, on January 5, 2023, I caused a true and correct copy of the foregoing

  to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

  electronic filing system on counsel for all parties who have entered in the case.

                                                       /s/ D. John Sauer




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